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                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA

MCARTHUR GRIFFIN                                §
                                                §
Plaintiff                                       §CIVIL ACTION NO.: 3:20-92-BAJ-EWD
                                                §
Versus                                          §
                                                §
REC MARINE LOGISTICS LLC, ET AL.                §   TRIAL BY JURY DEMANDED
                                                §
Defendants                                      §

         MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

     Gulf     Offshore        Logistics,         LLC,      a     co-Defendant       in    the

captioned     and       entitled        litigation,        has     moved      for   Summary

Judgment under FRCP Rule 56, supported by the Attached affidavit

of Blaine Russell, because Gulf Offshore Logistics, LLC has not

operated     or    conducted     any      business      whatever,       for    about      five

years, and then it did not operate or conduct business, or have

any business dealings, or have any relationship whatever with

Plaintiff, Griffin, who, the available evidence indicates, and

his complaint alleges, was employed as a seaman by REC Marine

Logistics, LLC, on a vessel known as M/V Dustin Danos, naked

owned by Offshore Transport Services, LLC, and contract operated

by Griffin’s employer, REC.

     Blaine Russell’s attached affidavit, clearly supports the

lack of any involvement of Gulf Offshore Logistics, LLC, a long,

idle company, with Griffin or his employmen, and Gulf Offshre

Logistics,        LLC   should     be    promptly       dismissed      from     the      above

entitled and numbered litigation.

                                           Submitted by:

                                           /s/ Fred E. Salley

                                           __________________________________
                                           FRED E. SALLEY, T.A. (11665)
                                           SALLEY & ASSOCIATES
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                      CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above and foregoing has
been served on all counsel of record by facsimile, receipt
requested, or by depositing same in the United States Postal
Service, properly addressed and postage prepaid, or by other
means, this 4th day of September, 2020.


                                 _____________________________
                                 FRED E. SALLEY, T.A. (11665)
